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              EXHIBIT 11
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 Mish International Monetary, Inc.             §
                                               §
                    Plaintiff,                 §
                                               §            In Re: Civil Action No. 1:20-cv-4577
         v.                                    §                          Pending in the N.D.Ill.
                                               §
 Vega Capital London Limited, et al.           §
                                               §
                    Defendant.                 §

              NON-PARTY EXXONMOBIL OIL CORPORATION’S RESPONSES
              AND OBJECTIONS TO SUBPOENA TO PRODUCE DOCUMENTS

To:     Lauren Goddard, Akerman LLP, Lauren.Goddard@akerman.com

         Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Non-Party ExxonMobil Oil

Corporation (“ExxonMobil”) serves these Objections and Responses to the Subpoena

(“Subpoena”) served by Defendants Vega Capital London Limited and Adrian Spires (collectively,

the “Defendants”) in connection with the above-captioned lawsuit (the “Lawsuit”).
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                                                   Respectfully submitted,

                                                   MCGINNIS LOCHRIDGE LLP

                                                   /s/ Seth Isgur
                                                   Seth Isgur
                                                   State Bar No. 24054498
                                                   sisgur@mcginnislaw.com
                                                   William K. Grubb
                                                   State Bar No. 24107793
                                                   wgrubb@mcginnislaw.com
                                                   609 Main Street, Suite 2800
                                                   Houston, Texas 77002
                                                   (713) 615-8500
                                                   (713) 615-8585 (fax)

                                                   Attorneys for ExxonMobil Oil Corporation




                               CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of this document was served on counsel for the

Defendants by email on December 8, 2023.


                                               /s/ Seth Isgur
                                                          Seth Isgur




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                      PRELIMINARY STATEMENT & OBJECTIONS

        ExxonMobil offers the following preliminary statement and objections regarding the
Instructions and Definitions in the Subpoena served by the Defendants:

       ExxonMobil is not a party to the lawsuit, and its understanding of the facts and issues
associated therewith is still developing. ExxonMobil’s responses and objections to the Subpoena
are based on ExxonMobil’s present understanding, and ExxonMobil reserves the right to modify,
supplement, and/or amend its responses and objections based on future developments.

       ExxonMobil objects to the Instructions and Definitions in the Subpoena as follows:

       1. ExxonMobil objects to the definition of “Agent” as overbroad and failing to describe
          with reasonable particularity the persons included within said definition. Specifically,
          by including “past and present employees, directors, trustees, officers, commissioners,
          supervisors, consultants, attorneys, independent contractors, paralegals, secretaries,
          accountants, representatives, and any other person acting on behalf of the applicable
          entity,” the definition implicates an incalculable number of persons who cannot be
          readily identified. Requiring ExxonMobil––a non-party––to attempt to identify this
          incalculable number of persons and then gather, review, and produce whatever
          responsive documents (if any) they may have is unduly burdensome and renders the
          Subpoena overbroad given the importance of the issues at stake, the amount in
          controversy (a claim involving an alleged loss of $92,490), the parties’ relative access
          to relevant information, the parties’ resources, the importance of the discovery in
          resolving the issues, and whether the burden or expense of the proposed discovery
          outweighs its likely benefits. See, e.g., Jackson Women’s Health Org. v. Dobbs, No.
          3:18-cv-171-CWR-FKB, 2022 U.S. Dist. LEXIS 29447, at *6-7 (S.D. Miss. 2022)
          (finding document requests relying on definitions including “officers, directors,
          employees, partners, agents, representatives, corporate parents, predecessors,
          successors, subsidiaries, and affiliates” to be facially overbroad).

       2. ExxonMobil objects to the definition of “CME” as overbroad and failing to describe
          with reasonable particularity the persons or entities included within said definition.
          Specifically, by including “any and all affiliates[,] subsidiaries, directors, divisions,
          exchanges, subdivisions (including, but not limited to, the NYMEX), groups, offices,
          branches, departments, employees, consultants, agents, representatives, accountants,
          predecessors or successors, and assigns, wherever they may be situated, and any other
          person or entity acting on its behalf,” the definition implicates an incalculable number
          of persons and entities that cannot be readily identified. Requiring ExxonMobil––a
          non-party––to attempt to identify this incalculable number of persons and entities and
          then gather, review, and produce whatever responsive documents (if any) they may
          have is unduly burdensome and renders the Subpoena overbroad considering the
          importance of the issues at stake, the amount in controversy (a claim involving an
          alleged loss of $92,490), the parties’ relative access to relevant information, the parties’
          resources, the importance of the discovery in resolving the issues, and whether the
          burden or expense of the proposed discovery outweighs its likely benefits. See, e.g.,
          Jackson Women’s Health Org. v. Dobbs, No. 3:18-cv-171-CWR-FKB, 2022 U.S. Dist.

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      LEXIS 29447, at *6-7 (S.D. Miss. 2022) (finding document requests relying on
      definitions including “officers, directors, employees, partners, agents, representatives,
      corporate parents, predecessors, successors, subsidiaries, and affiliates” to be facially
      overbroad).

   3. ExxonMobil objects to the definition of “ICE” as overbroad and failing to describe with
      reasonable particularity the persons or entities included within said definition.
      Specifically, by including ICE’s “parents, subsidiaries, affiliates, employees, agents,
      and any other person or entity acting on its behalf, wherever they may be situated” the
      definition implicates an incalculable number of persons and entities that cannot be
      readily identified. Requiring ExxonMobil––a non-party––to attempt to identify this
      incalculable number of persons and entities and then gather, review, and produce
      whatever responsive documents (if any) they may have is unduly burdensome and
      renders the Subpoena overbroad considering the importance of the issues at stake, the
      amount in controversy (a claim involving an alleged loss of $92,490), the parties’
      relative access to relevant information, the parties’ resources, the importance of the
      discovery in resolving the issues, and whether the burden or expense of the proposed
      discovery outweighs its likely benefits. See, e.g., Jackson Women’s Health Org. v.
      Dobbs, No. 3:18-cv-171-CWR-FKB, 2022 U.S. Dist. LEXIS 29447, at *6-7 (S.D.
      Miss. 2022) (finding document requests relying on definitions including “officers,
      directors, employees, partners, agents, representatives, corporate parents, predecessors,
      successors, subsidiaries, and affiliates” to be facially overbroad).

   4. ExxonMobil objects to the definition of “NYMEX” as overbroad and failing to describe
      with reasonable particularity the persons or entities included within said definition.
      Specifically, by including NYMEX’s “parents (including, but not limited to, CME
      Group), subsidiaries, affiliates, employees, Agents, or persons or entities acting on its
      behalf or under its control,” the definition implicates an incalculable number of persons
      and entities that cannot be readily identified. Requiring ExxonMobil––a non-party––
      to attempt to identify this incalculable number of persons and entities and then gather,
      review, and produce whatever responsive documents (if any) they may have is unduly
      burdensome and renders the Subpoena overbroad considering the importance of the
      issues at stake, the amount in controversy (a claim involving an alleged loss of
      $92,490), the parties’ relative access to relevant information, the parties’ resources, the
      importance of the discovery in resolving the issues, and whether the burden or expense
      of the proposed discovery outweighs its likely benefits. See, e.g., Jackson Women’s
      Health Org. v. Dobbs, No. 3:18-cv-171-CWR-FKB, 2022 U.S. Dist. LEXIS 29447, at
      *6-7 (S.D. Miss. 2022) (finding document requests relying on definitions including
      “officers, directors, employees, partners, agents, representatives, corporate parents,
      predecessors, successors, subsidiaries, and affiliates” to be facially overbroad).

   5. ExxonMobil objects to the definition of “You,” “Your,” “ExxonMobil,” and “Exxon
      Mobil” as overbroad and failing to describe with reasonable particularity the persons
      or entities included within said definition. Specifically, by including all of ExxonMobil
      Oil Corporation’s “affiliates, subsidiaries, parents, directors, divisions, subdivisions,
      groups, offices, branch offices, departments, employees, brokers, traders, consultants,
      Agents, representatives, accountants, predecessors or successors, and assigns wherever

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      they may be situated,” the definition implicates an incalculable number of persons and
      entities that cannot be readily identified. Requiring ExxonMobil––a non-party––to
      attempt to identify this incalculable number of persons and entities and then gather,
      review, and produce whatever responsive documents (if any) they may have is unduly
      burdensome and renders the Subpoena overbroad considering the importance of the
      issues at stake, the amount in controversy (a claim involving an alleged loss of
      $92,490), the parties’ relative access to relevant information, the parties’ resources, the
      importance of the discovery in resolving the issues, and whether the burden or expense
      of the proposed discovery outweighs its likely benefits. See, e.g., Jackson Women’s
      Health Org. v. Dobbs, No. 3:18-cv-171-CWR-FKB, 2022 U.S. Dist. LEXIS 29447, at
      *6-7 (S.D. Miss. 2022) (finding document requests relying on definitions including
      “officers, directors, employees, partners, agents, representatives, corporate parents,
      predecessors, successors, subsidiaries, and affiliates” to be facially overbroad).

   6. ExxonMobil objects to the definitions of “Communication”, “Document,” “Include”
      (and iterations thereof), and “Relate” (and iterations thereof) to the extent they exceed
      the scope of the Federal Rules of Civil Procedure.

   Moreover, ExxonMobil objects to the Subpoena in its entirety for the following reasons:

   1. ExxonMobil objects to the Subpoena as failing to provide a reasonable time period for
      compliance. In particular, the Subpoena was served on ExxonMobil on November 16,
      2023 and requires compliance on December 18, 2023. Given the number and scope of
      document requests contained in the Subpoena, 32 days (which days include the week
      of Thanksgiving) is an adequate and unreasonable compliance period.

   2. ExxonMobil objects that—given the number and scope of the document requests
      contained in the Subpoena—the Defendants are imposing an undue burden and/or
      expense on ExxonMobil.

   3. ExxonMobil objects to the Subpoena to the extent that it seeks the production of any
      documents or information protected from disclosure by the attorney-client privilege,
      the work-product doctrine, or any other applicable claim of privilege, law, or rule
      (“Privileged Information”). ExxonMobil will not produce Privileged Information, and
      any undertaking by ExxonMobil to produce documents should be understood to
      exclude Privileged Information. ExxonMobil specifically reserves the right to demand
      the return of any documents that inadvertently may be produced if ExxonMobil
      determines, in his sole discretion, that such documents may constitute or contain
      Privileged Information.

   4. ExxonMobil objects to the Subpoena to the extent it purports to require ExxonMobil to
      disclose documents or information that ExxonMobil is required to maintain in
      confidence pursuant to an agreement or understanding with any third party (“Third
      Party Confidential Information”). ExxonMobil will not produce Third Party
      Confidential Information except pursuant to an appropriate release from any such third
      party or an appropriate court order.


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   5. ExxonMobil objects to the Subpoena to the extent it purports to require the production
      of documents that are not within the possession, custody or control of ExxonMobil.
      ExxonMobil will not produce documents in the possession, custody or control of any
      third party.

   6. ExxonMobil objects to the Subpoena to the extent it seeks the production of multiple
      identical copies of the same document.

   7. ExxonMobil’s failure to object on a particular ground or grounds shall not be construed
      as a waiver of its rights to object on any additional ground(s). In making these
      objections, ExxonMobil does not in any way waive or intend to waive, but rather
      intends to preserve and is preserving, should it become appropriate:

              a.     all objections as to competency, relevancy, materiality, and
                     admissibility of any documents that may be produced in response to the
                     Subpoena, or the subject matter thereof;

              b.     all rights to object on any ground to the use of any of the documents that
                     may be produced in response to the Subpoena, or the subject matter
                     thereof, in any subsequent proceedings, including the trial of this or any
                     other action; and

              c.     all rights to object on any ground to any request for further responses to
                     this or any other Subpoena.




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                     RESPONSES TO REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: Documents sufficient to show the following
information for Your trades in the May WTI Contract during the April 20th Trading
Day and/or April 21st Trading Day: (i) the type of each trade (e.g., purchase or sale); (ii)
the amount of each trade, in terms of the number of lots and the price per lot; and (iii)
the time each trade took place in Central Daylight Time (CDT).

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, unduly burdensome, and seeking information
that is beyond the scope of permissible discovery considering the importance of the issues at stake,
the amount in controversy (a claim involving an alleged loss of $92,490), the parties’ relative
access to relevant information, the parties’ resources, the importance of the discovery in resolving
the issues, and whether the burden or expense of the proposed discovery outweighs its likely
benefits. Significant market data is publicly available and therefore obtainable from a more
convenient and less burdensome source. See, e.g., Commodity Futures Trading Commission,
INTERIM STAFF REPORT, Trading in NYMEX WTI Crude Oil Futures Contract Leading up to, on,
and around April 20, 2020 (Nov. 23, 2020). Further, discovery of information other than aggregate
trading information, which is publicly available, is unduly burdensome and the expense outweighs
the likely benefits.

ExxonMobil also objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i).

ExxonMobil further objects to this request as ambiguous and overbroad because “documents
sufficient to show” is inherently subjective and subject to multiple interpretations.

In addition, ExxonMobil objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil also objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 2: Documents sufficient to show when and how each
position You held in the May WTI Contract on the April 20th Trading Day and/or April 21st
Trading Day was liquidated.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.


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ExxonMobil objects to this request as overbroad, unduly burdensome, and seeking information
that is beyond the scope of permissible discovery considering the importance of the issues at stake,
the amount in controversy (a claim involving an alleged loss of $92,490), the parties’ relative
access to relevant information, the parties’ resources, the importance of the discovery in resolving
the issues, and whether the burden or expense of the proposed discovery outweighs its likely
benefits. Significant market data is publicly available and therefore obtainable from a more
convenient less burdensome source. See, e.g., Commodity Futures Trading Commission, INTERIM
STAFF REPORT, Trading in NYMEX WTI Crude Oil Futures Contract Leading up to, on, and
around April 20, 2020 (Nov. 23, 2020). Further, discovery of information other than aggregate
trading information, which is publicly available, is unduly burdensome and the expense outweighs
the likely benefits.

ExxonMobil also objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i).

ExxonMobil further objects to this request as ambiguous and overbroad because “documents
sufficient to show” is inherently subjective and subject to multiple interpretations.

In addition, ExxonMobil objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil also objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 3: Documents sufficient to show the amount of any
long or short position You held in the May WTI Contract at any time on the April 20th
Trading Day).

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, unduly burdensome, and seeking information
that is beyond the scope of permissible discovery considering the importance of the issues at stake,
the amount in controversy (a claim involving an alleged loss of $92,490), the parties’ relative
access to relevant information, the parties’ resources, the importance of the discovery in resolving
the issues, and whether the burden or expense of the proposed discovery outweighs its likely
benefits. Significant market data is publicly available and therefore obtainable from a more
convenient less burdensome source. See, e.g., Commodity Futures Trading Commission, INTERIM
STAFF REPORT, Trading in NYMEX WTI Crude Oil Futures Contract Leading up to, on, and
around April 20, 2020 (Nov. 23, 2020). Further, discovery of information other than aggregate
trading information, which is publicly available, is unduly burdensome and the expense outweighs

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the likely benefits.

ExxonMobil also objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i).

ExxonMobil further objects to this request as ambiguous and overbroad because “documents
sufficient to show” is inherently subjective and subject to multiple interpretations.

In addition, ExxonMobil objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil also objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 4: Documents sufficient to show whether and when
You knew or believed that the May WTI Contract could trade at negative prices.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, vague, ambiguous, and failing to specify the
requested materials with reasonable particularity in seeking “documents sufficient to show whether
and when You knew or believed” the referenced contract “could trade at negative prices.” Whether
and when ExxonMobil “knew” or “believed” that something “could” have happened is inherently
vague and ambiguous (as is “documents sufficient to show”), especially considering that the
objectionably overbroad definitions of “You” and “ExxonMobil” includes ExxonMobil Oil
Corporation and all of its “affiliates, subsidiaries, parents, directors, divisions, subdivisions,
groups, offices, branch offices, departments, employees, brokers, traders, consultants, Agents,
representatives, accountants, predecessors or successors, and assigns wherever they may be
situated.” Thus, responding to this request would require that ExxonMobil ascertain the personal
knowledge and beliefs as to whether something “could” occur from an incalculable number of
unidentified persons and entities before ExxonMobil could even begin to identify and gather any
potentially responsive materials.

In addition, ExxonMobil objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i). This concern is
particularly stark given that the parties to this lawsuit compete in the same trading markets as
ExxonMobil and are seeking documents speaking to ExxonMobil’s confidential and internal views
and strategies when trading in those markets, and thus could confer an unfair competitive
advantage on the parties competing with ExxonMobil in those markets.


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ExxonMobil also objects to this request as overbroad, unduly burdensome, and seeking
information that is beyond the scope of permissible discovery considering the importance of the
issues at stake, the amount in controversy (a claim involving an alleged loss of $92,490), the
parties’ relative access to relevant information, the parties’ resources, the importance of the
discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely benefits.

ExxonMobil further objects to this request as seeking information that is publicly available, e.g.,
the advisories issued by the CME and other institutions reflecting their belief that WTI contracts
could trade at negative prices.

ExxonMobil also objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 5: Documents sufficient to show Communications
between You and CME, NYMEX, or ICE relating to the May WTI Contract, including
but not limited to: (i) notices by CME that the WTI Contract may trade at negative
prices; (ii) correspondence relating to Your trading and/or rollover strategy with respect
to the May WTI Contract; and (iii) correspondence relating to the April 20th Trading
Day and/or the April 21st Trading Day.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad and unduly burdensome in seeking documents
that are publicly available or obtainable from another source (e.g., CME, NYMEX, or ICE) that is
more convenient and less burdensome, especially considering that notices by CME are publicly
available and/or can be obtained from CME.

In addition, ExxonMobil objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i). This concern is
particularly stark given that the parties to this lawsuit compete in the same trading markets as
ExxonMobil and are seeking documents speaking to ExxonMobil’s confidential and internal
trading and rollover strategies when trading in those markets, and thus could confer an unfair
competitive advantage on the parties competing with ExxonMobil in those markets.

ExxonMobil also objects to this request as overbroad, unduly burdensome, and seeking
information that is beyond the scope of permissible discovery considering the importance of the

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issues at stake, the amount in controversy (a claim involving an alleged loss of $92,490), the
parties’ relative access to relevant information, the parties’ resources, the importance of the
discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely benefits.

ExxonMobil further objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

ExxonMobil also objects to this request as ambiguous and overbroad because “documents
sufficient to show” is inherently subjective and subject to multiple interpretations, and therefore
this request fails to describe with reasonable particularity the information sought.

Finally, ExxonMobil objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 6: Documents sufficient to show Your trading and/or
rollover strategy with respect to the May WTI Contract and/or the April 20th Trading
Day.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, vague, ambiguous, and failing to specify the
requested materials with reasonable particularity in seeking “documents sufficient to show Your
trading and/or rollover strategy.” Given the objectionably broad definition of “Your”—which
definition includes ExxonMobil Oil Corporation and all of its “affiliates, subsidiaries, parents,
directors, divisions, subdivisions, groups, offices, branch offices, departments, employees,
brokers, traders, consultants, Agents, representatives, accountants, predecessors or successors, and
assigns wherever they may be situated”—responding to this request would require that
ExxonMobil ascertain the personal knowledge and strategies from an incalculable number of
unidentified persons and entities before ExxonMobil could even begin to identify and gather any
potentially responsive materials.

In addition, ExxonMobil objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i). This concern is
particularly stark given that the parties to this lawsuit compete in the same trading markets as
ExxonMobil and are seeking documents speaking to ExxonMobil’s confidential and internal views
and strategies when trading in those markets, and thus could confer an unfair competitive
advantage on the parties competing with ExxonMobil in those markets.

ExxonMobil also objects to this request as overbroad, unduly burdensome, and seeking
information that is beyond the scope of permissible discovery considering the importance of the

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issues at stake, the amount in controversy (a claim involving an alleged loss of $92,490), the
parties’ relative access to relevant information, the parties’ resources, the importance of the
discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely benefits.

ExxonMobil further objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 7: Documents sufficient to show the following with
respect to any crude oil You purchased under the May WTI Contract: (i) whether You
accepted or considered accepting delivery of any such crude oil; (ii) whether You stored or
considered storing any such crude oil; and (iii) the amount of such crude oil that You
accepted for delivery and/or stored, if any.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, vague, ambiguous, and failing to specify the
requested materials with reasonable particularity in seeking “documents sufficient to show”
whether “You” “considered accepting” or “considering storied” crude oil. Given the objectionably
broad definition of “You”—which definition includes ExxonMobil Oil Corporation and all of its
“affiliates, subsidiaries, parents, directors, divisions, subdivisions, groups, offices, branch offices,
departments, employees, brokers, traders, consultants, Agents, representatives, accountants,
predecessors or successors, and assigns wherever they may be situated”—responding to this
request would require that ExxonMobil ascertain what an incalculable number of unidentified
persons and entities may have “considered” before ExxonMobil could even begin to identify and
gather any potentially responsive materials.

In addition, ExxonMobil objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i). This concern is
particularly stark given that the parties to this lawsuit compete in the same trading markets as
ExxonMobil and are seeking documents speaking to ExxonMobil’s confidential and internal views
and strategies when trading in those markets, and thus could confer an unfair competitive
advantage on the parties competing with ExxonMobil in those markets.

ExxonMobil also objects to this request as overbroad, unduly burdensome, and seeking
information that is beyond the scope of permissible discovery considering the importance of the
issues at stake, the amount in controversy (a claim involving an alleged loss of $92,490), the
parties’ relative access to relevant information, the parties’ resources, the importance of the


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discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely benefits.

ExxonMobil further objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

REQUEST FOR PRODUCTION NO. 8: Documents sufficient to show Communications
between You and any Third Parties relating to the May WTI Contract, including but not
limited to Documents and Communications concerning the Third Parties' investments
or holdings in the May WTI Contract.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, vague, ambiguous, and failing to specify the
requested materials with reasonable particularity in seeking “documents sufficient to show” (which
phrase is inherently vague and subjective) “Communications between You and any Third Parties
“relating to the May WTI Contract.” Given the objectionably broad definition of “You”—which
definition includes ExxonMobil Oil Corporation and all of its “affiliates, subsidiaries, parents,
directors, divisions, subdivisions, groups, offices, branch offices, departments, employees,
brokers, traders, consultants, Agents, representatives, accountants, predecessors or successors, and
assigns wherever they may be situated”—this request would sweep in every comment, however
insignificant, that any ExxonMobil employee made regarding the May 2020 WTI contract,
including remarks from employees who had no involvement (be it trading or otherwise) with that
contract and were simply commenting based on public reporting surrounding the contract. As a
practical matter, it would be nearly impossible to gather (much less review) these communications,
which communications would be of no conceivable relevance to the lawsuit.

In addition, ExxonMobil objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i). This concern is
particularly stark given that the parties to this lawsuit compete in the same trading markets as
ExxonMobil and are seeking documents speaking to ExxonMobil’s confidential and internal views
and strategies when trading in those markets, and thus could confer an unfair competitive
advantage on the parties competing with ExxonMobil in those markets.

ExxonMobil also objects to this request as overbroad, unduly burdensome, and seeking
information that is beyond the scope of permissible discovery considering the importance of the
issues at stake, the amount in controversy (a claim involving an alleged loss of $92,490), the
parties’ relative access to relevant information, the parties’ resources, the importance of the


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discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely benefits.

ExxonMobil further objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

Subject to these objections, ExxonMobil did not serve as a broker for third parties relating to the
May 2020 WTI Contract, and thus ExxonMobil does not have any documents responsive to this
request as it is interpreted by ExxonMobil.

REQUEST FOR PRODUCTION NO. 9: Documents sufficient to show the following
information relating to all Third Parties who traded or invested in the May WTI
Contract through You: (i) the number and identity of any such Third Parties, (ii) the
earnings or losses of such Third Parties in the May WTI Contract; and [sic] (i) the terms
of any settlements or other agreements between You and any such Third Parties with
respect to the May WTI Contract.

RESPONSE: ExxonMobil incorporates its Preliminary Statement and Objections, as set forth
above, as if fully restated in response to this request.

ExxonMobil objects to this request as overbroad, vague, ambiguous, and failing to specify the
requested materials with reasonable particularity in seeking “documents sufficient to show” (which
phrase is inherently vague and subjective) “the following information relating to all Third Parties
who traded or invested in the May WTI Contract through You.” ExxonMobil interprets this
request as seeking information relating to transactions in which ExxonMobil acted in a broker-
type capacity. ExxonMobil, however, did not serve as a broker for third parties relating to the May
WTI Contract.

In addition, ExxonMobil objects to this request as seeking sensitive, confidential, and proprietary
commercial information, and Defendants have not demonstrated that they can meet their burden
in showing that the probative value of this sensitive information outweighs the harm disclosure
would impose on ExxonMobil. See, e.g., FED. R. CIV. P. 45(d) (3)(B)(i). This concern is
particularly stark given that the parties to this lawsuit compete in the same trading markets as
ExxonMobil and the unspecified third parties covered by this request, such that the information
sought by this request confer an unfair competitive advantage on the parties when competing with
ExxonMobil and the unspecified third parties in those markets.

ExxonMobil also objects to this request as overbroad, unduly burdensome, and seeking
information that is beyond the scope of permissible discovery considering the importance of the
issues at stake, the amount in controversy (a claim involving an alleged loss of $92,490), the
parties’ relative access to relevant information, the parties’ resources, the importance of the

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discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely benefits.

ExxonMobil further objects to the extent this request seeks information that is privileged from
discovery pursuant to the attorney-client, work-product, trade secrets (subject to TEX. R. EVID. 507
or other applicable provisions), and other privileges.

Finally, ExxonMobil objects to this request to the extent it seeks to force ExxonMobil to create
documents because such a request exceeds what is permissible under the Federal Rules of Civil
Procedure.

Subject to these objections, ExxonMobil did not serve as a broker for third parties relating to the
May 2020 WTI Contract, and thus ExxonMobil does not have any documents responsive to this
request as it is interpreted by ExxonMobil.




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